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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK




                                                                   13-MD-2481 (PAE)
 IN RE ALUMINUM WAREHOUSING                                        and all related cases
 ANTITRUST LITIGATION
                                                                          ORDER



PAUL A. ENGELMAYER, District Judge:

       At the November 4, 2019 conference in this multi-district litigation, the Court advised

counsel of its intention to have a monthly telephone conference with counsel. The purpose of the

conference is to keep the Court abreast of relevant developments in the litigation and to give the

Court a forum to inquire about such matters with counsel.

       The Court hereby schedules the first such conference for Friday, December 6, 2019, at

9 a.m. The Court directs lead counsel for plaintiffs to provide the Court and the defense with a

dial-in number for the call. Although other counsel on the case are of course welcome to audit

the call, the Court expects that no more than three lawyers per side will participate on the call.

The Court directs that, two days prior to the call, counsel submit a brief joint letter summarizing

recent developments in the case and identifying the call participants for each side.

       SO ORDERED.


                                                                 PaJA.�
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                                                              Paul A. Engelmayer
                                                              United States District Judge


Dated: November 19, 2019
       New York, New York


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